 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE
 2    P O BOX 50013
      SAN JOSE, CA 95150-0013
 3
      Telephone: (408) 354-4413
 4    Facsimile: (408) 354-5513

 5

 6

 7
                                UNITED STATES BANKRUPTCY COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                        SAN JOSE DIVISION
 9

10
      In Re:                                            )   Chapter 13
11                                                      )   Case No. 16-52579 MEH
      ERNESTO RUPISAN                                   )
12                                                      )
      JULITA RUPISAN                                    )   NOTICE OF UNCLAIMED DIVIDEND
13                                                      )   Claimant:
                                                        )   ERNESTO RUPISAN
14                                                      )   JULITA RUPISAN
                                      Debtors           )
15
      TO THE CLERK, UNITED STATES BANKRUPTCY COURT:
16
          Pursuant to Federal Rule of Bankruptcy Procedure 3011, the Trustee in the above referenced
17
      case hereby turns over to the Court, unclaimed funds in the amount of $9,710.55. The name and
18
      last known address of the claimant entitled to the unclaimed dividend is as follows:
19

20
                                         Ernesto Rupisan & Julita Rupisan
21
                                             ***Mail Ret'D 11/20/17
22                                           7006 Goldenspur Loop
                                              San Jose, CA 95138
23

24
      Dated: March 02, 2018                                 /s/ Devin Derham-Burk
25
                                                       DEVIN DERHAM-BURK, TRUSTEE
26

     Case: 16-52579      Doc# 37       Filed: 03/02/18      Entered: 03/02/18
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                                                                                  Notice of Unclaimed    1 of 1
                                                                                                      Dividend
